Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2455 Filed 03/24/16 Page 1 of 7

EXHIBIT D
Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2456 Filed 03/24/16 Page 2 of 7
RE: Requesting a meeting Page i of 6

RE:-Requesting a meeting

: Reeser, Natalie

Sent: Friday, January £7, 2014 7:55 AM
To: Hood, Jill

Thank you so much Jill, That puts me more at ease, I look forward to speaking with you.

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medical Laboratories

Out Reach Lab Service

nreeser1 @hfhs.org

From: Hood, Jill

Sent: Friday, January 17, 2014 7:54 AM
To: Reeser, Natalie

Subject: RE: Requesting a meeting

Natalie,

I apologize that I can not be in there in person today - but we will discuss over the phone at 12:30. The benefit to the phone
conversation first is that if we identify any other documentation for you to provide, you can have that gathered by the time we
meet in person on Monday.

You can certainly not get in trouble to speaking with HR. It is the employee's right to come and speak with HR about any
concems or questions that they have.

Once we speak this afternoon, we can decide where to meet on Monday - if you would like me to meet you at NCO or if you
would like to come over to my office at the Hospital.

Thanks - talk to you at 12:30

Jill E Hood, PHR ©

Sr. Business Partner, Human Resources and Volunteer Services
Henry Ford Hospital

313-575-6742 (bb)

From: Reeser, Natalie

Sent: Friday, January 17, 2014 7:45 AM
To: Hood, Jill

Subject: RE: Requesting a meeting

Hi Ji,

I understand if something came up, but this is a very serious meeting, and I rearranged my schedule to meet
with you at 12:30 today.( I just want to make sure I cannot be in trouble for this) I will call you @ 12:30 however
I really will need someone to meet with me Monday. I am under major stress and anxiety over things that are
going on, and truly ne longer want to come to work feeling like this, and Honestly shouldn't have to. I look
forward to speaking with you at 12:30. Thank you

Natalie K. Reeser ts
Pathology & Laboratory Medicine

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2457 Filed 03/24/16 Page 3 of 7
RE; Requesting a meeting Page 2 of 6

248-721-7099 Cell & 586-228-2774 Office
‘ Henry Ford Medical Laboratories
Out Reach Lab Service

nreesert @hfhs.orq

From: Hood, Jill

Sent: Friday, January 17, 2014 7:32 AM
To: Reeser, Natalie

Subject: RE: Requesting a meeting

Natalie,
T apologize but I I'm afraid 1 will not be able to meet in person today. That said, I definitely would like to talk with you over

the phone at that time. Then, on Monday, once you are done with your meeting at New Center One, you can drop off any
documentation to me you would like me to see. Or ~ I could even meet you at New Center One if you like.

Sorry, Natalie. Please give me a call on my cell (313-575-6742) at 12:30.
Thanks

Jif E Heod, PHR

Sr. Business Partner, Human Resources and Volunteer Services
Henry Ford Hospital

313-575-6742 (bb)

From: Reeser, Natalie

Sent: Friday, January 17, 2014 7:26 AM
To: Hood, Jill

Subject: RE: Requesting a meeting

Thank you so much Jill, See you @ 12 :30 pm , and Thank you again for allowing to meet with you,

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medical Laboratories

Out Reach Lab Service

hreeseri @hths.org

From: Hood, JH

Sent: Thursday, January 16, 2014 5:21 PM
To: Reeser, Natalie

Subject: RE: Requesting a meeting

HI Natalie,
Sorry I was not able to get back to you earlier today, I have been in meetings ali day. J am all set to meet with you tomorrow

at 12:30. Just want to make sure you know where my office is (as we are not located at OFP). We are on the Main Campus,
Just come into the ER entrance and when you get to the stop sign, turn left. As soon as you turn, you will see several spots
for 30 minute parking - just park there. Then, follow the sidewalk to to to the left - it will bend to the right. Straight ahead of
you will be a building called the Innovation Institute. Come in that building, through the double glass doors and to the door
on your right. Once you walk through that door - I am the second office you come to. Just keep my bb number (313-575-
6742) incase you need assistance setting there.

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2458 Filed 03/24/16 Page 4 of 7
RE: Requesting a meeting Page 3 of 6

Be safe driving!
_ ai

dill & Hood, PHR

Sr. Business Partner, Human Resources and Volunteer Services
Henry Ford Hospital

313-575-6742 (bb)

From: Reeser, Natalie

Sent: Thursday, January 16, 2014 4:48 PM
To: Hood, Jill

Subject: RE: Requesting a meeting

HI Jill,

I'm a little worried I didn't hear from you today about tomorrow, but I am all set to come down town, I have
coverage and it is very important that I meet with you. Please let me know if we are stil! on for the meeting
tomorrow at 12:30 down town. I lock forward to hearing back from you and really look forward to speaking with
you further tomorrow.

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medical Laboratories

Out Reach Lab Service

nreeseri @hfhs.org

From: Hood, Jill

Sent: Wednesday, January 15, 2014 12:35 PM
To: Reeser, Natalie

Subject: Re: Requesting a meeting

Natalie,
I'm concerned about the thought that Fiona became aware of your meeting request. The only two people that I
should know of that are just the two of us.

iam working with Fiona of concerns at another cite and she did ask that | call her shortly. When | do speak with
her, if she asks about our meeting, | will not be sharing anything with her.

That said, if you can come down on Friday - that would be great.

Jill Hood

Sr. Business Partner

Human Resources

Henry Ford Hospital

Office: 313 916 8564

BB: 313 575 6742

{ Please excuse errors response sent via Blackberry}

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2459 Filed 03/24/16 Page 5 of 7
RE: Requesting a meeting Page 4 of 6

* From: Reeser, Natalie

Sent: Wednesday, January 15, 2014 12:31 PM
Te: Hood, Jill
Subject: RE: Requesting a meeting

Hi, Jill... the problem is , is Fiona caught win that I asked for a meeting with HR, she showed up this morning to
my office, which is kind of out of the ordinary, but then alt of her sales people left and it was just us two. I feel
like I am walking on egg shells. she tried to pull me into a meeting with her, however I just said I am in the
process of making an appointment with HR and I would like to speak to them first. she was just appalled and
how dare I_ kind of an attitude, and now is walking around humming and laughing and I'm just over wheimed by
this. I couldn't call and talk to you if I wanted to. she also then starting right away attacking me, she saicl

my screen savor is unacceptable even though she has seen it for the year and a half that it has been there,
because my brother has feukemia, it was a picture of strength. so I changed it no preblem. I am working on
getting Friday afternoon off so I can come downtown, I can't feel like Tam trapped in here with her like this. I'm
shaking. I really am an excellent employee and I should never feel the way I do at this moment. I will get back to
you asap, about Friday 12:30 as soon as I know something again Thank you for your time on this matter.

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medical Laboratories

Out Reach Lab Service

nreeseri @hfhs.org

From: Hood, Jill

Sent: Wednesday, January 15, 2014 10:16 AM
To: Reeser, Natalie

Subject: RE: Requesting a meeting

Natalie,

I'm sorry to hear that you are so stress and are feeling intimidated. Would it be better for you to discuss over
the phone — even sometime today ~ so that you don’t have to wait until Monday? Perhaps we could even talk
over the phone today and then on Monday, you could just drop off to me the documentation you mentioned (as
| have a meeting at 4:45 on Monday so wouldn’t have very long to talk by the time you got her after your 4pm

meeting).

If this would be alright, just let me know what time you have break or take lunch and | will clear my schedule so
that we can discuss over the phone.

From: Reeser, Natalie

Sent: Wednesday, January 15, 2014 10:10 AM
To; Hood, Jill

Subject: RE: Requesting a meeting

Good Morning Jill,
This Friday They have put me on the schedule to cover at Shelby twp PSC this Friday. I will be downtown

on Monday at new center one for epic training till 4 pm if I could meet with you after that would be perfect,
please let me know or I could see if I could be taking off the schedule for Friday, because I

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2460 Filed 03/24/16 Page 6 of 7

RE: Requesting a meeting

Page 5 of 6

am feeling intimidated naw and stressed to the max it is incredibly important this happens asap. Thank you Jill for

. being so understandable and working with me,

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medical Laboratories .
Out Reach Lab Service

nreeserl @hfhs.org

From: Hood, Jill

Sent: Wednesday, January 15, 2014 8:05 AM
To: Reeser, Natalie

Subject: Re: Requesting a meeting

Natalie,

Would Friday at 12:30 work?

Jill Hood

Sr. Business Partner

Human Resources

Henry Ford Hospital

Office: 313 916 8564

BB: 313 575 6742

{ Please excuse errors response sent via Blackberry)

From: Reeser, Natalie

Sent; Tuesday, January 14, 2014 03:04 PM
To: Hood, Jill

Subject: RE: Requesting a meeting

Hi, Jil I work out in Clinton twp Monday-Thursday 7:30-am to 5 pm and Fridays 7:30 - 11 :30 am I really would
like to have a meeting in person, so I can show you everything I have to support my concerns. Friday afternoon J
would be able to drive down town, or if we had to, just to get these issues settled I would do an over the

phone conversation with you as well. Please let me know what works best for you !! Thank you so much for

getting back to me on this matter.

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medical Laboratories

Out Reach Lab Service

nreeserl @hfhs.org

From: Hood, Jill

Sent: Tuesday, January 14, 2014 2:08 PM
To: Reeser, Natalie

Subject: RE: Requesting a meeting

Natalie,

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-5, PagelD.2461 Filed 03/24/16 Page 7 of 7
RE: Requesting a meeting Page 6 of 6

We can certainly set up a meeting! Prior to us meeting with Fiona, | would like to meet with you individually so

. thatican better understand your concerns. Do you have time to meet this coming Thursday? Any time prior to

2pm will work for me.
Thanks

Ful €. Hood, PHR

Human Resources

Senior Business Partner

Henry Ford Hospital and Volunteer Services
Office: 313-916-8564

Blackberry: 313-575-6742

From: Reeser, Natalie

Sent: Tuesday, January 14, 2014 10:55 AM
To: Hood, Ji

Subject: Requesting a meeting

Good Morning Jill , I had left you a message this morning, but I truly feel it is very important that I meet with
you, alone, as well as my supervisor Fiona Bork. and maybe even her boss John Waugh. There is an personal
issue Fiona has with me as of last month, and she is using her feelings tawards me to mark me down in my annul
review, I have rejected the review and arn requesting a meeting with HR. I also work on a daily basis in the
same office as our operations Manager Martha Wiseheart and I would like her at the meeting with Fiona, due to
the fact that she hears and see’s my job performance on a daily basis. but I would like to meet with you alone
first and share everything I have to confirm my statements above. Thank you for this opportunity and I look
forward to speaking with you soon. Thank you and I hope you have a wonderful day.

Natalie K. Reeser

Pathology & Laboratory Medicine
248-721-7099 Cell & 586-228-2774 Office
Henry Ford Medicai Laboratories

Out Reach Lab Service

nreeserl @hfhs.org

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